                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                ORDER
                                         )
MONICA NICOLE FLOYD (3)                  )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine. (Doc. No. 556).

       In recognition of the defendant’s substantial assistance, the government withdrew its 21

U.S.C. § 851 Notice at the sentencing hearing, but amended its motion for downward departure to

remove the reference 18 U.S.C. § 3553(e). (Doc. No. 411: Statement of Reasons at 5). The

defendant was then sentenced to 120 months’ imprisonment pursuant to the mandatory minimum

sentence prescribed in 21 U.S.C. § 841(b)(1)(A), based on her plea to conspiracy to possess with

intent to distribute 50 grams or more of a mixture and substance containing cocaine base. (Doc.

No. 104: Indictment; Doc. No. 265: Plea Agreement; Doc. No. 410: Judgment; Doc. No. 411:

Statement of Reasons). Accordingly, the change in the guidelines does not affect on the

defendant’s sentence. Neal v. United States, 516 U.S. 284, 296 (1996) (retroactive amendment to

guidelines does not alter statutory mandatory minimum).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.




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       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                 Signed: March 24, 2008




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